Case 2:12-CV-00515-RBS Document 1-1 Filed 01/31/12 Page 1 of 1
CIVIL COVER SHEET

ms 44 (Rev. 12/01)

The JS 44 civil cover sheet and the information contained herein neither re lace nor sugp
by local rules of court This form, approved by the Judicial Cont`erence o the United

the Civll docket Sheet. (SEE lNSTRUCTIONS ON THE R.EVERSE OF THE FORM. )

I. (a) PLAINTIFFS
Tylér Johnson

(b) County ofResidence ot`First Listed PlaintitT
(EXCEPT lN U.S. PLAINTIFF CASES)

Passaic

(c) Anomey’s (Firm Nam=, Addr¢ss, and wephon¢ Number)
William C. Reil, Esq., Law Ofiices of \Villiam C. Reil
42 South 15th St., Suite 210, Phila¢lelphia, PA 19102 - 215-564-1635

lement the filing and seryice of pleadm&s
tates in September 1974, is required for

DEFENDANTS

Attomeys (lfKnown)

 

County ot` Residence of First Listed Defendant
(1N U.S. PLAINTll-`F CASES ONLY)

NOTE: lN LAND CONDEMNATION CASES, USE 'l'HE LOCAT[ON OF '1`1-1E

LAND INVOLVED.

Philatlelphia

or other papers as reu uired by law, except as pr_oyi<_led
e use of te Clerk of ourt for the purpose of mmatmg

- Temple University - Of the Commonwealth System of Higher Education and
: Professor Richard Greenstein

 

Michael J. Fortunato, Esq./Edward J. Heffernan, Esq.
Rubin, Fortunato & Harbison, P.C., 10 S. Leopard Roatl, Paoli, PA 19301
610-408-2005/610-408-2021

 

II. BASIS OF JURISDICTION

Cl 1 U.S. Govemmcnt

P|aintif`f`

Cl 2 U.S. Govemment
Det`endant

3£3 Federal Quest'ion
(U. S. Govemment Not a Party)

` U 4 Diversity

(Indicate Citizenship of Parties in ltern Ill)

(Place an “X" in One Box Only)

 

(For Diversity Cases Only)
PTF
Cil:izen of This State Cl l
Citizen ofAnother State Cl 2
Citizen or Subjecl ofa Cl 3

Foreign Country

III. CITIZENSHIP OF PR]NCIPAL PARTIES(Place an “X" in One Box for Plaimin”

and One Box for Defendant)
DEF PTF DEF
C| 1 lncorporated ar Principal Plaoe C| 4 D 4
ofBusiness In This State
lJ 2 lncorporated and Principal Place Cl 5 Cl 5
of Business ln Anothcr State
C| 3 Foreign Notion CJ 6 D 6

 

 

 

  
   

  

 

IV. NATURE OF SUIT Place an “X”' m One Box Onl

   
   
 

     

   

  

 

 

 

 

 

 

 

 

     

 

 
 

 

El 110 lnsurance PERSONAL INJURY PERSONAL INJURY Cl 610 Agriculture U 422 Appea128 USC 158 Cl 400 State Reapponionment
El 120 Marine 0 310 Airplane Cl 362 Personal lojury - U 620 Other Food & Drug D 423 Withdrawal D 410 Ant'itrust
lJ 130 Miller Act U 315 Airplane Product Med. Malpractice Cl 625 Drug Related Seizure 28 USC 157 U 430 Banks and Banking
D 140 Negotiable lostrument Liability CI 365 Personal Injury - of Property 21 USC 881 C| 450 Commerce
13 l50 Recovery ovaerpaymcnt Cl 320 Assault, Libel & Product Liability D 630 Liquor Laws - ~ » .' C| 460 Deportation
&Enforcementofjudgnent Sla.nder U 368 Asbestos Pcrsona| l'J 640 R.R. & Truck Cl 820 Copyrights U 470 Racketeer lnfluenced and
D 151 Medicare Act 0 330 Federa] Employers’ lnjury Product D 650 Airline chs. 13 830 Patent Corrupt Organizations
Cl 152 Recovery of Defaulted Liability Liability D 660 Occupational D 840 Tradcmark U 480 Consumer Credit
Student Loa.ns U 340 Marine PERSONAL PROPERTY Safety/Health D 490 Cable/Sal TV
(Excl. Veterans) D 345 Marine Product D 370 Other Fraud D 690 Other C| 810 Selective Servicc
Cl 153 Recovery of`Overpaym¢nt liability C| 371 Truth in Lending " ' ` 55 » ~ 5 ~ -‘ ` C| 850 Securities/Conunodities/
of Vetcran’s Benefits D 350 Motor Vehicle 0 380 Other Persona| [J 710 Fair Labor Sta.ndards D 861 HlA (13951`1) Exchange
D 160 Stockholders’ Suits U 355 Motor Vel\icle Property Damage Act D 862 Black Lung (923) CI 875 Customer Challenge
15 190 Other Contract Product Liability D 385 Property Damage Cl 720 Labor/Mgmt. Relations [J 863 DIWC/DIWW (405(g)) l2 USC 3410
Cl 195 Contract product Liability L'.l 360 Other Personal Product Liability 0 730 LaborlMgmt.Reporting El 864 SSlD Title XV[ C| 890 Other Statutory Actions
0 196 Francltise ln & Disclosure Act CI 865 RSl 44055522 Cl 891 Agricultural Acts
__.»1 ~ - ‘ .. . '£ ' ' ~ '.~ - . 5 "I` D 740 Railway Labor Act SE\Y€FEDERALT " TS'=.'€’? Cl 892 Economic Stabilization Act
13 210 Land Condemtmtion Cl 441 Voting 13 510 Motions to Vacate C| 790 Other Labor Litiga\ion 0 870 Taxes (U. S. Plaintifl' Cl 893 Environmental Matters
U 220 Foreclosure lJ 442 Employment Sentence Cl 791 Empl. Ret. lnc. or Defendant) D 894 Energy Allocan'on Act
0 230 Ren! Lease & Ejectmenl C| 443 Housiny Habeas Corpus: Security Act Cl 871 1RS-Third Party U 895 Freedom of lnl`ormation
Cl 240 Torls to Land Aocommodations Cl 530 General 26 USC 7609 Act
Cl 245 Tort Product Liability C| 444 Welfare U 535 Death Pcnalty 0 900Appea1 ofFee Detennination
0 290 All Other Real Property Cl 445 Amcr. w/Disabilities - Cl 540 Mandamus & Other Under Equal Access
Employment 0 550 Civil Rights D 463 Habeas Corpus - to .lustice
lJ 446 Amer. w/Disabilities ~ D 555 Prison Condition Alien Deta.inee CI 950 Constitutionality of
Other 0 465 Other lmmigration State Statutes
§ 440 Other Civil Rights Actions
V. ORIGIN (Place an “x“ in one Box only) Ap al to Discricr
cl 1 original 51 2 Removed from 1‘_'1 3 Remanded from g 4 Reinsrared or g 5 ;n'§'§§'§§sdu§'c‘:'“ g 6 Mqltid;scri¢r g 7 JM“ag§§§'e“
Proceeding State Court Appellate Court Reopened (s ecifv) L1t1gatlon Jud§!£m

 

VI. CAUSE OF ACTION

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
42 U.S.C. Section 1983

Brief description of cause:
Due process and civil rights claims in connection with Universitv sus]g§ion.

 

 

 

 

 

 

 

 

VII. REQUESTED lN 5 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint
COMPLAINT: UNDER F-R~C-P~ 23 $50,000 JuRY DEMAND: r_'l Yes cl No
v111. RELATED cAsE(s) S _ _ '
IF ANY ( °° "“““°"°“s)' JuDGE DocKET NUMBER
DATE SIGN OF AT'I'ORNEY OF RECORD
1/31/12 ( ZTLT:'_/\
FoR oFFlCE UsE oNLv I'_“ 1
RECEIPT # AMOUN'I` APPLYING IFP IUDGE MAG. JUDGE

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